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                           COURT FOR THE DISTRICT
                       OF NEW JERSEY, CAMDEN VICINAGE


  LILI BERNARD                        :

          Plaintiff,                  :       21-CV-18566 (NLH) (MJS)

  v.                                  :

  WILLIAM COSBY,                      :

          Defendant.                  :


       BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
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                                   INTRODUCTION

       Defendant William Cosby, by and through his counsel the Bonjean Law

 Group moves to dismiss Plaintiff Lili Bernard’s Complaint pursuant to Federal Rule

 of Civil Procedure12(b)(6). Plaintiff attempts to bring personal injury claims against

 Defendant for assault, battery, false imprisonment, and a derivative claim of

 intentional infliction of emotional distress, stemming from an alleged incident that

 occurred in and around July 1990 in Atlantic City, New Jersey. To avoid the statute

 of limitations bar to her 30-year-old claims, Plaintiff invokes the so-called “reviver

 amendment” to the New Jersey Child Sexual Abuse Act (“CSAA”), claiming that the

 amendment permits her bring her tort claims outside the statute of limitations.

 New Jersey Statute § 2A:14-2b (“reviver amendment”)

       The reviver amendment did not create any substantive causes of action, but

 rather, opened a two-year window for injuries resulting from either “the commission

 of sexual assault or any other crime of a sexual nature” or child sexual abuse or

 exploitation as defined by the statute. Plaintiff cannot avail herself of the statute

 without alleging that the incident resulted in Plaintiff’s conviction for sexual

 assault or another crime of a sexual nature, and/or without pleading her age at the

 time of the alleged incident. Because Plaintiff’s Complaint does not (and could not)

 allege that Defendant was convicted of sexual assault or any other crime of a sexual

 nature as defined by the New Jersey criminal code, and Plaintiff was not a minor in

 July 1990 (and therefore could not plead she was), the reviver amendment cannot

 save her untimely claims. Accordingly, Plaintiff’s Complaint must be dismissed.



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       Even if Plaintiff invoked the reviver amendment as the New Jersey

 Legislature intended, her claims fail because the reviver amendment is

 unconstitutional on Due Process and ex post facto grounds. Enacted in 2019, the

 amendment purports to open a two-year window to all claims that fall under its

 purview. But as applied to anyone other than a defendant who was convicted of

 sexual assault or who is alleged to have committed sexual abuse of a minor as

 defined by the statute, it is unconstitutionally vague because it does not define

 “crime of a sexual nature” or set out any standards by which to determine that a

 person without a criminal conviction could have committed sexual assault or crimes

 of a sexual nature.

       In addition, the reviver amendment violates Defendant’s federal and state

 constitutional rights, because it purports to retroactively re-open a statute of

 limitations on claims that have been barred for nearly two decades. Under the Due

 Process clauses of the United States and New Jersey Constitutions, Defendant has

 a vested right in the statute of limitations defense, which ripened 27 years before

 the reviver amendment went into effect.

       Lastly, the reviver amendment is clearly an ex post facto law that seeks to

 inflict additional punishment on Defendant than what was available under the law

 at the time of the alleged event. Where the statute on its face requires a civil court

 to determine that a Defendant committed a crime (under some unknown standard

 of proof) as a prerequisite to determining whether the claims are timely filed, the

 reviver amendment violates the ex post facto clauses of the United States and New



                                            2
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 Jersey constitutions. Because the reviver amendment is unconstitutionally vague,

 deprives Defendant of vested rights, and violates ex post facto principles, Plaintiff’s

 Complaint must be dismissed.

           To the extent that Plaintiff’s Complaint attempts to plead claims other than

 the incident that allegedly occurred in 1990 in Atlantic City, those claims must also

 be dismissed where Plaintiff fails to plead sufficient facts, such as where the

 incident occurred or when the incident occurred, to show that she is entitled to

 relief.

                          FACTS ALLEGED IN THE COMPLAINT

           Plaintiff’s Complaint attempts to use the reviver amendment to the Child

 Sexual Abuse Act (“CSAA”) to bring personal injury claims for assault, battery,

 intentional infliction of emotional distress, and false imprisonment that, even if

 true, would have accrued more than 30 years ago. Dkt. 1 at ¶¶37-61. According to

 the Complaint, Plaintiff met Defendant on the set of the Cosby show. Id. at ¶9. In or

 about July of 1990 at an unnamed location, Defendant grabbed her breasts. Id. at

 ¶13. Sometime during the next month, in or about August of 1990, Plaintiff went

 with Defendant to New Jersey to meet with a producer. Id. at ¶¶15-16. Although

 the Complaint does not state as much, public records reflect that in August 1990,

 Plaintiff was 26 years old.1




 1
  Although Plaintiff does not provide her date of birth, Plaintiff’s date of birth is a matter of public
 record. Plaintiff was 26 years at the time of the alleged incident in August 1990. See
 https://twitter.com/lilibernard/status/1360507278734970880?lang=en ;
 https://www.famousbirthdays.com/people/lili-bernard.html ; https://allfamous.org/people/lili-
 bernard-n1za.html

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        While in a hotel suite in New Jersey, Plaintiff allegedly drank something

 provided by Defendant and subsequently began to feel dizzy and sick, vomited, and

 lost consciousness. Id. at ¶¶ 20-22. At some point while she was going in and out of

 consciousness, she states that Defendant undressed and “vaginally rap[ed] her with

 his penis.” Id. at ¶¶ 23-25. Without stating when or where, the Complaint also

 states that Defendant “sexually assaulted, battered and drugged Ms. Bernard on

 additional occasions.” Id. at ¶ 30.2

                                           LEGAL STANDARD

        The issue of the sufficiency of a pleading may be raised by the filing of a Fed.

 R. Civ. P. 12(b)(6) motion to dismiss. Jordan v. City of Philadelphia, 66 F. Supp.

 638, 641 (E.D. Pa. 1999) In resolving a Rule 12(b)(6) motion, the courts are to

 primarily consider the allegations in the complaint, although matters of public

 record, orders, items appearing in the record of the case and exhibits attached to the

 complaint may also be taken into account. Id. In so doing, the court must accept as

 true the facts alleged in the complaint, together with all reasonable inferences that

 can be drawn in the light most favorable to the plaintiff. Id. In this circuit, a

 statute of limitations defense may be raised by a motion under Rule 12(b)(6) “only if

 the ‘the time alleged in the statement of a claim shows that cause of action has not

 been brought within the statute of limitations.’” Schmidt v. Skolas, 770 F. 3D 241,




 2 To the extent Plaintiff intends to state any claim with regard to the breast-grabbing incident in
 paragraph 13 or the conclusory allegations in paragraph 30, she fails to state enough facts to put
 defendant on notice as what those claims are, whether the venue is proper, and what statute of
 limitations applies.


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 249 (3d Cir. 2014). “To decide a motion to dismiss, courts generally consider only the

 allegations contained in the complaint, exhibits attached to the complaint, and

 matters of public record.” Id.

                                               ARGUMENT


 I.     Plaintiff Fails To State A Claim Under The New Jersey Child Sexual

        Abuse Act Where: (1) She Was Not A Minor; (2) Defendant Was Not

        Convicted of Sexual Assault or Any Sex Crime; and (3) Plaintiff Does

        Not Tie Her Tort Claims To A Statutory Cause Of Action.

        Plaintiff’s Complaint alleges state tort claims of assault, battery, false

 imprisonment, and intentional infliction of emotional distress. The statute of

 limitations for such claims is two years. N.J.S. § 2A:14-2. According to the Plaintiff’s

 Complaint, the claims accrued on some unknown date in August 1990, meaning the

 claims are clearly time-barred by almost 30 years. However, Plaintiff attempts

 revive these claims by invoking the 2019 reviver amendment to the CSAA.

        By its terms, the reviver amendment applies to “an action at law for an injury

 resulting from: (1) the commission of sexual assault, [or]3 any other crime of a

 sexual nature,” and/or (2) “a prohibited sexual act as defined in 2A:30B-2" [“Actions

 by Victims of Sexual Exploitation of a Child”] or (3) “sexual abuse as defined in

 2A:61B-1.” § 2A:14-2b. To invoke the reviver amendment, Plaintiff must show that



 3 Inserting “or” in this portion of the amendment is appropriate both because construction of the
 sentence warrants it and because, in the other reviver amendment to the CSAA, added at the same
 time as the amendment at issue here, “or” is included. Section 2A:14-2a-2(b)(1) reads, “every action
 for an injury resulting from the commission of a sexual assault or any other crime of a sexual nature
 against a person 18 years of age or older.”

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 her injuries resulted from one of the three criteria expressed in the statute. Because

 Plaintiff was an adult in August 1990, she cannot invoke the amendment by

 alleging that her injuries resulted from sexual exploitation of a child or sexual

 abuse as defined in 2A:30B-2 or 2A:61B-1. Furthermore, because Plaintiff did not,

 and cannot, allege that Defendant was convicted of sexual assault or another crime

 of a sexual nature, stemming from the alleged 1990 incident, she cannot avail

 herself of the reviver amendment. Accordingly, her common-law claims are time-

 barred. Since there is no relief that could be granted to Plaintiff, her Complaint

 must be dismissed.

       A.     Background of the New Jersey Child Sexual Abuse Act and the
              Reviver Amendment

       In 1992, the New Jersey legislature enacted the CSAA, creating a civil

 statutory remedy for sexual abuse, defined as “an act of sexual contact or

 penetration between a child under the age of 18 years and an adult.” 1992 N.J.

 Laws 109. The CSAA was significant because it created a new cause of action for

 people subjected to sexual abuse as children, who had previously been limited in

 civil court to common-law tort actions, which have a two-year statute of limitations

 in New Jersey. See Hardwicke v. American Boychoir School, 188 N.J. 69, 84-85

 (2004). “Because of the unique nature of sexual abuse, which may only be

 discovered by an adult victim after years of repression,” the bill provided that a civil

 suit pursuant to the statute would accrue at the time of “reasonable discovery to the

 injury and its causal relationship” to the underlying act of abuse. Id. at 85.




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       Since its passage, the New Jersey Legislature has amended the CSAA three

 times. 1999 N.J. Laws 393, 2004 N.J. Laws 130, 2019 N.J. Laws 120. Almost all

 these changes have clarified and expanded liability and civil procedures in cases of

 child victims. The 1999 amendments clarified that the state of limitations could be

 tolled after a plenary hearing that could be conducted outside the presence of a jury.

 1999 N.J. Laws 393 Section 1(5)(c). The 2004 amendment incorporated the

 definitions of the CSAA to apply to child protective services. 2004 N.J. Laws 130.

       In the Hardwicke decision, the New Jersey Supreme Court clarified liability

 for child sexual abuse under the CSAA. Importantly, the Court considered, inter

 alia, whether plaintiffs could use the expanded statute of limitations in the CSAA to

 bring, any and all, common-law torts claims in addition to statutory actions for

 sexual abuse. Id. at 99-100. The Court answered the question in the negative,

 holding that in order for a common-law tort to proceed under the CSAA, it had

 constitute “conduct that falls within the definition of sexual abuse” under the

 statute. Id. at 100. In other words, a common law claim could only proceed under

 the liberal tolling provision provided by the CSAA if it was anchored in the

 statutory cause of action created by the Act. See id.

       In 2019, the Legislature again amended the CSAA, in part responding to and

 incorporating the Hardwicke decision by removing the language that adults

 standing in loco parentis would have to be “within a household,” and expanding

 liability for non-profit corporations, religious organizations, and others. See 2019

 N.J. Laws 120 § 2A:61B-1-1(a)(1) and § 2A:53A-7-1a(c) and Senate Judiciary



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 Statement to Senate Subcommittee (March 7, 2019) Section 4, (discussing

 expanding liability to schools in response to Hardwicke). In addition, the

 Legislature expanded the statute of limitations in cases of child sexual abuse, and

 for the first time included civil actions for people who experienced sexual

 misconduct as adults. § 2A:14-2a and 14-2b.

        The new statutes of limitations in the CSAA are set out in two sections.

 Section 2:14-2a allows a person who was sexually abused as a minor to bring a

 cause of action “within 37 years after the minor reaches the age of majority, or

 within seven years from the date of reasonable discovery of the injury,” and allows a

 person who was “18 years of age or older” to bring an action “within seven years

 from the date of reasonable discovery of the injury.” § 2A:14-2a. In addition, the

 reviver amendment,4 at issue here, opened a two-year window for the filing of

 claims without regard to the “reasonable discovery” rule:

        C.2A:14-2b Commencement of actions regardless of the statute of limitations
        9.a. Notwithstanding the statute of limitations provisions of N.J.S.2A:14-2,
        section 2 of P.L.2019, c.120 (C.2A:14-2a), section 1 of P.L.1964, c.214
        (C.2A:14-2.1), or any other statute, an action at law for an injury resulting
        from the commission of sexual assault, any other crime of a sexual nature, a
        prohibited sexual act as defined in section 2 of P.L.1992, c.7 (C.2A:30B-2), or
        sexual abuse as defined in section 1 of P.L.1992, c.109 (C.2A:61B-1), that
        occurred prior to the effective date of P.L.2019, c.120 (C.2A:14-2a et al.), and
        which action would otherwise be barred through application of the statute of
        limitations, may be commenced within two years immediately following the
        effective date. § 2A:14-2b.


 4 Both of these amendments, § 2A:14-2a and § 2A:14-2b, revive the statute of limitations for the
 same causes of action and thus both could be properly referred to as “reviver amendments.” See §
 2A:14-2 and § 2A:14-2b. Many of the arguments herein could apply to both these sections. However,
 since only one is at issue here, the term “reviver amendment” used herein refers to § 2A:14-2b, the
 two-year window purporting to apply to all claims.


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        The reviver amendment is the only portion of the CSAA that Plaintiff cites in

 her complaint. As of this filing, there have been nine written opinions interpreting

 the CSAA since the 2019 amendments came into effect, all in cases involving

 minors.5 Plaintiff in this case was not a minor at the time of the alleged incident.

 Thus, this motions appears to raise issues of first impression.


        B.      Because Plaintiff Was Not a Minor in August 1990, Plaintiff
                Does Not State a Claim for Sexual Exploitation of a Child or
                Sexual Abuse.

 As explained above, Plaintiff appears to be one of the first individuals to bring a

 cause of action under the reviver amendment since its effective date of December 1,

 2019 who attempts to apply the CSAA without an allegation that she was a minor

 at the time of the events underlying her Complaint. Since the original purpose of

 the Act was to redress child sexual abuse (as demonstrated by the name of the

 statute itself, “Child Sexual Abuse Act”) this is no small factual insufficiency.

        The reviver amendment explicitly cites to two statutory claims that would

 allow plaintiff to benefit from its new statute of limitations: Sections 2A:30B-2

 (“sexual exploitation of a child”) and 2A:61B-1 (“sexual abuse”). § 2A:14-2b. A

 necessary element of both these claims is that the claimant be under 18 years old at




 5See SY v. Roman Catholic Diocese, 2021 U.S. Dist. LEXIS 188333 (D.N.J. Sep. 30, 2021)); B.A. v.
 Golabek, 18-cv-7523, (D.N.J. Nov. 8, 2021); Gavin v. Bd. of Educ., 2021 U.S. Dist. LEXIS 52115
 (D.N.J. Mar. 18, 2021); W.F. v. Roman Catholic Diocese of Paterson, 2021 U.S. Dist. LEXIS 111062
 (D.N.J. June 7, 2021); Doe v. Archdiocese of Phila., 2021 U.S. Dist. LEXIS 38426 (E.D. Pa. Mar. 2,
 2021); W.H. v. R.C., 2020 U.S. Dist. LEXIS 37060 (D.N.J. Mar. 4, 2020); W.S. v. Hildreth, 2021 N.J.
 Super. LEXIS 145 (Super. Ct. App. Div. Dec. 21, 2021); R.A. a Fictitious Designation v. W. Essex
 Reg'l Sch. Dist. Bd. of Educ., 2021 N.J. Super. Unpub. LEXIS 1951 (Super. Ct. App. Div. Aug. 30,
 2021); Coyle v. Salesians of Don Bosco, 2021 N.J. Super. Unpub. LEXIS 1635, July 2021.


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 the time of the alleged acts. N.J.S. § 2A:30B-2 and 2A:61B-1. Under New Jersey

 law, “’sexual abuse’ means an act of sexual contact or penetration between a child

 under the age of 18 and an adult.” § 2A:61B-1. Likewise, sexual exploitation of a

 child requires that the victim be “any person under 18 years of age.” § 2A:30B-2.

 Plaintiff does not state her age in 1990, but public records show that she was 26

 years of age at the time of the alleged events. Even though Plaintiff purports to

 bring an action for “sexual abuse” and states that Defendant was “sexually abusing”

 her five times in the complaint, Plaintiff cannot successfully plead a claim for

 sexual abuse (or sexual exploitation of a child) given her adult age in August 1990.

 See Dkt. 1 at ¶ ¶ 8, 17, 18, 32, 33 and 34.

        C.      Plaintiff’s Complaint Also Fails to State a Claim Because She
                Does Not Allege (Nor Can She) that Defendant Was Convicted
                of Sexual Assault or Another Sex Crime.
        Plaintiff further fails to state a claim because she does not allege that

 Defendant was convicted of sexual assault or any other crime against her.6 By the

 terms of the reviver amendment, a plaintiff must either have been a minor or must

 assert “an injury resulting from the commission of sexual assault, [or] any other

 crime of a sexual nature.” N.J.S. §2A:14-2b. Sexual assault is not defined in the

 CSAA nor in any other statute other than the in the New Jersey criminal code,

 which is what the amendment clearly references by using the word “crime.” See id.



 6Plaintiff attempted to file a criminal complaint against Mr. Cosby in connection with underlying
 events, but the office of the Atlantic City Prosecutor declined to prosecute and closed the case.
 https://www.inquisitr.com/2218110/bill-cosby-will-not-face-charges-over-drug-and-rape-allegations-
 made-by-former-cosby-show-actress/



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 and N.J.S. § 2C:14-2. Plaintiff does not allege that Defendant was convicted of a

 crime against her. Rather, she alleges four common law torts. Dkt. 1 at ¶¶ 37-61.

 Under the plain language of the statute, Plaintiff cannot avail herself of the reviver

 amendment.

       When interpreting a statute, New Jersey law demands that it begin with “an

 examination of the plain language of the statute.” O’Connell v. State, 171 N.J. 484,

 795 A.2d 857, 859 (2000) “Where a statute is clear and unambiguous on its face,” a

 “court may neither rewrite a plainly-written enactment of the Legislature nor

 presume that the Legislature intended something other than that expressed by the

 plain language.” Id.

       On its face, the reviver amendment is only applicable when a defendant has

 committed a “sexual assault” or a “crime of a sexual nature.” The term “commission

 of a crime” under New Jersey criminal law means an act for which a person is found

 guilty and convicted. Under the definition of sexual assault in the criminal code a

 defendant is “guilty” if he “committed” an act: “An actor is guilty of aggravated

 sexual assault if the actor commits an act of sexual penetration with another person

 under any of the following circumstances...” §2C:14-2-a. In other words,

 “commission” of an act is synonymous with criminal guilt. See id. Indeed, general

 criminal culpability in the New Jersey code is triggered by “commission of an

 offense.” N.J.S. §2C-2(c) (1) & (3). Notably, the drafters used the word

 “commission” and “conviction” interchangeably in the New Jersey Criminal section

 entitled “Construction of Statutes with Respect to Culpability Requirements.” See



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 id. Where it states,“[w]hen the law defining an offense prescribes the kind of

 culpability that is sufficient for the commission on an offense...” it means

 “culpability” that is “sufficient” to convict a person of the offense. See id.

        In addition, the sentencing statute in New Jersey uses the term “commission”

 as the qualifier for sentencing enhancements once a person has been convicted, i.e.

 “A person who has been convicted of an offense enumerated in this subsection who

 used or possessed a machine gun or assault firearm during its commission,

 attempted commission, or flight therefrom...” N.J.S § 2C:43-6(g) (see also subsection

 c). Meaning that once a person is convicted, they can be said to have committed the

 underlying acts. See id. In these and other criminal statutes, and throughout New

 Jersey case law, the term “commission of a crime” means a criminal conviction. See

 also e.g. N.J.S. §2C:52-3-b (describing “convictions” as “offenses” that were

 “committed” for expungement purposes).

        The reviver amendment does not state that the look-back window may be

 triggered by allegations or claims of defined conduct as it could. Rather, it clearly

 states that the amendment is triggered when a sexual assault or other crime of a

 sexual nature is committed. The Court should not re-write the statute or presume

 that the legislature intended something other than what the plain language states.

 For liability to attach, the plaintiff’s injury must have resulted from the commission

 of a crime. Since Plaintiff does not allege Defendant has been criminally convicted

 in connection with case at bar, she fails to state a claim.




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       To the extent that Plaintiff alleges facts that, if proven beyond a reasonable

 doubt in a criminal trial, would constitute a crime, she still does not state a claim

 upon which relief can be granted because this Court, as a federal court sitting in

 diversity over a civil action, does not have the authority to find that Defendant

 committed a crime against Plaintiff. A declaration that Defendant committed a

 crime in the absence of the safeguards of the criminal process—which would require

 not only a different standard of proof but a different burden of proof, the

 government to be a party, different evidentiary rules, and the right to a 12-person

 jury—would violate Defendant’s Due Process rights. Without a judgment by a

 criminal court finding Defendant guilty of a crime against Plaintiff, she fails to

 state a claim under the reviver amendment.

       D.     Without Including Facts that Tether her Tort Claims to a
              Statutory Cause of Action, Plaintiff’s Common Law Claims Are
              Time-Barred.
       Plaintiff’s Complaint also fails because she does not allege conduct defined by

 the CSAA, namely sexual abuse or sexual exploitation of a child. Because Plaintiff’s

 personal injury claims are not based on conduct that amounts to child sexual abuse

 or exploitation (because Plaintiff was not a minor), her personal injury claims are

 time-barred. See D.D. v. Stockton Univ., 2019 U.S. Dist. LEXIS 124821,*11.

 Plaintiff invokes the CSAA to bring her claims, but the New Jersey Supreme Court

 has said that the CSAA applies only to torts that fall under the statute. Hardwicke,

 188 N.J. at 101, n.12.

       In Hardwicke, the New Jersey Supreme court considered whether the

 plaintiff could seek damages on claims of intentional and negligent infliction of

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 emotional distress, assault and battery, and false imprisonment, where he claimed

 to have been sexually abused by a school director when he was 12 years old. Id. at

 75-80. The trial court denied the common law claims on the basis that the plaintiff

 did not state a cause of action under the CSAA since the Defendant school did not

 qualify as a “person” under the Act. Id. at 80. In other words, the trial court held

 the plaintiff needed to first establish that the claim triggered the statute before

 tethering it to common law torts. The appellate court reversed, adopting a broader

 definition of “person,” and allowed all claims to proceed. Id. at 84.

        However, on appeal, the New Jersey Supreme Court carefully considered

 whether the plaintiff had a statutory cause of action and which claims could

 proceed. The supreme court held that the common law tort claims could proceed

 because they were “based on conduct that falls within the definition of sexual

 abuse,” which was a statutory cause of action created by the CSAA. Id at 100. The

 court further stated, “[t]o the extent that the principal opinion below may suggest

 the liberal tolling provisions of the statute apply to common-law causes of action

 based on conduct not within the definition of sexual abuse found in the CSAA, we

 disagree.” Id.at n.12. With that, the majority7 made it clear that for a common-law

 tort to benefit from the statutory tolling of the CSAA, the plaintiff must first




        7  In his dissent, Judge Rivera-Soto agreed that common-law claims could be tethered to
 sexual abuse under the CSAA, but emphasized further “the Legislature did not intend the CSAA’s
 tolling provisions to apply to every conceivable common-law tort.” He further stated, “In light of the
 strong policy considerations that ungird the application of statutes of limitations...the reach of the
 CSAA’s tolling provision cannot be extended beyond those actions that fit the statutory definition of
 sexual abuse.” Hardwicke, 188 N.J. at 113 (J. Rivera-Soto, dissenting).



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 identify a statutory cause of action from the CCSA, and then establish that the

 common law tort falls within the statutory definition of that cause of action.

       As the court noted, the CSAA states “in any civil action for an injury or

 illness based on sexual abuse, the cause of action shall accrue...” Id. The court

 emphasized, “’the statute does not state: ‘in any civil action for injury or illness

 arising under this Act.” Id. Plainly stated, the CSAA required that a cause of action

 be “based on” sexual abuse in order qualify for the statute of limitations in the Act.

 Id. While the legislature amended the CSAA after Hardwicke, and even cited the

 Hardwicke opinion in doing so, it left the phrase “based on sexual abuse”

 unchanged. See N.J.S. § 2A:61B-1b and Senate Judiciary Statement to Senate

 Subcommittee (March 7, 2019) Section 4. Further, the language it inserted in the

 reviver amendment has a similarly narrow structure, stating: “an action at law for

 an injury resulting from the commission of sexual assault, any other crime of a

 sexual nature...” See § 2A:14-2b and § 2A:14-2a(a)(1) and (b)(1). Had the legislature

 wanted to extend the statute of limitations on all torts that have any sexual

 element, it could have done so using broader or different language to accomplish

 that result. As written, the reviver statute requires a claim to be tethered to a

 statutory cause of action either “based on sexual abuse” or “resulting from” the

 commission of a crime. See id.

       The Hardwicke decision makes it clear that Plaintiff Bernard must establish

 a statutory cause of action under the CSAA before tethering time-barred common

 law torts to the statute of limitations established in the reviver amendment. Since



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 she has failed to allege sexual abuse or any other statutory basis for reviving her

 common-law tort claims, her complaint should be dismissed because the statute of

 limitations on those torts has passed.


 II.    The Reviver Statute Violates Due Process Where It Is

        Unconstitutionally Vague Both On Its Face And As Applied.

        Reading the reviver amendment as not requiring the Plaintiff to assert that

 she was a minor at the time of the alleged incident or that the Defendant has been

 convicted of sexual assault or a crime of a sexual nature would render it void for

 vagueness. The language, “an action at law for an injury resulting from the

 commission of a sexual assault, [or] any crime of a sexual nature” is not defined

 anywhere in the CSAA and is vague both on its face and as applied to anyone who

 has not been convicted of the crime of sexual assault in a criminal court.

        The doctrine of vagueness “guards against arbitrary or discriminatory law

 enforcement by insisting that a statute provide standards to govern the actions of

 police officers, prosecutors, juries, and judges.” Sessions v. Dimaya, 138 S. Ct. 1204,

 1212 (2017). Civil laws that are vague can violate Due Process just as criminal laws

 can. Rosedale v. Rosehill Cemetary Ass’n v. Twp. of Reading, 510 F. Supp. 3d 250,

 262 (D.N.J. 2020). Vagueness can be a facial challenge or as applied. Id. at 259.

        Following the reasoning in Hardwicke, Defendant concedes that if he had

 been convicted of the crime of sexual assault against Plaintiff the reviver

 amendment’s language would unambiguously apply to common law tort actions that

 fell within that crime’s definition, just as torts that fell within the definition of


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 sexual abuse can be brought by minor plaintiffs. See Hardwicke, supra. However,

 the amendment as applied to any other set of facts is vague, and the remainder of

 its language is vague on its face. It provides no definition of “sexual assault” or “any

 crime of a sexual nature” and no guidance for this court to determine what standard

 of proof or type of conduct must be found for it to determine the injury resulted from

 the “commission” of a crime in the absence of a criminal conviction.

       While the term “sexual assault” is defined in the criminal code, the CCSA

 does not utilize or reference that definition in the statute, nor does the CCSA

 separately define “sexual assault.” According to Merriam-Webster, “sexual assault”

 can mean “any illegal sexual contact.” The term sexual assault in the CCSA does

 not identify what specific “illegal sexual contact” would have to be committed to

 trigger the reviver amendment.

       The phrase “any other crime of a sexual nature” contained in the statute is

 even more vague. In Sessions, the Supreme Court analyzed whether the phrase

 “crime of violence” in the Immigration and Nationality Act (“INA”) was void-for-

 vagueness where the INA defined it as felony that “by its nature, involves a

 substantial risk that physical force against the person or property of another may

 be used in the course of committing the offense.” Sessions, 138 S. Ct. at 1211. In

 interpreting the INA, courts had to look at the “nature of the offense” in general and

 ask whether the offense posed a risk of physical force in the “ordinary case.” Id. The

 Court held that “crime of violence” was unconstitutionally vague because it required

 courts to engage in “a judge-imagined abstraction” by picturing “the kind of conduct



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 that the crime involves in the ‘ordinary case’”, and then “to judge whether that

 abstraction” presented a “not-well-specified-yet-sufficiently-large degree of risk.” Id.

 at 1216.

       In the same way, courts interpreting the reviver amendment will have to

 abstract from the language “commission of...any other crime of a sexual nature”

 what elements make conduct sufficiently of a “sexual nature” for reviver statute to

 apply. Does it require physical contact, or would public indecent exposure or

 voyeurism qualify? What about misdemeanor assaults where a breast was grazed?

 Fraud or trespassing convictions that relate to attempted crimes? To interpret the

 statute would require this Court to insert its own definitions, and then abstract

 from that the elements required for liability, more vagueness than the Due Process

 clause permits.

       The doctrine of vagueness prohibits courts from re-writing statutes. The

 reviver amendment does not simply leave a gap as to what conduct triggers

 liability, it specifically ties liability to “commission” of crimes. § 2A:14-2b. To apply

 its language to someone who was not convicted of a crime requires this Court to re-

 write the statute by constructing a rule for how it can determine in a civil court that

 a person committed a crime. Without legislative guidance on how to make this

 determination, the amendment is void-for-vagueness both on its face and as applied

 to Plaintiff complaint.




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 III.    The Reviver Amendment Violates Due Process Where It

         Retroactively Deprives Defendant Of His Statute Of Limitations

         Defense, A Vested Right.

         By operating to retroactively divest Defendant of a statute of limitations

 defense he had prior to Plaintiff’s claims, the reviver amendment violates his Due

 Process rights under the United States and New Jersey Constitutions. Statutes are

 presumed to operate prospectively because “fundamental fairness suggests that

 government give prior notice of a statute so citizens may conform their behavior.”

 Twiss v. State, 124 N.J. 461, 466 (1991). Where a legislature indicates that a statute

 should operate retroactively it violates Due Process if it unconstitutionally

 interferes with “‘vested rights’ or will result in a ‘manifest injustice.’” Id. at 467. The

 reviver amendment, if it operates to retroactively divest Defendant of what was, at

 the time of the alleged act, an absolute defense to the tort claims at bar, takes away

 the vested right of that defense. Consequently, it violates the Due Process clauses of

 the United States and New Jersey Constitutions and should be struck down.

         The majority of State courts to address the issue have held that once a

 statute of limitations has run, the defense of that statute is a vested right that

 cannot be taken away through legislative action.8 This has been true with other


 8 Johnson v. Garlock, Inc., 682 So.2d 25, 27-28 (Ala. 1996); see also Johnson v. Lilly, 823 S.W.2d 883,
 885 (Ark. 1992) (“[W]e have long taken the view, along with a majority of the other states, that the
 legislature cannot expand a statute of limitation so as to revive a cause of action already barred.”);
 Frideres v. Schiltz, 540 N.W.2d 261, 266- 67 (Iowa 1995) (“[I]n the majority of jurisdictions, the right
 to set up the bar of the statute of limitations, after the statute of limitations had run, as a defense to
 a cause of action, has been held to be a vested right which cannot be taken away by statute,
 regardless of the nature of the cause of action.”); Dobson v. Quinn Freight Lines, Inc., 415 A.2d 814,
 816-17 (Me. 1980) (“The authorities from other jurisdictions are generally in accord with our
 conclusion” that running of the statute of limitations creates a vested right); Doe v. Roman Catholic

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 statutes reviving claims for childhood sexual abuse. Doe v. Roman Catholic Diocese,

 862 S.W.2d 338, 341-42 (Mo. 1993), Mitchell v. Roberts, 469 P.3d 901, 913 (Utah

 2020), Doe v Diocese of Dallas, 917 N.E.2d 475, 481 (Ill. 2009). Statutes of

 limitations are primarily enacted to ensure fairness, because it is “unjust...to compel

 a person to defend a lawsuit long after the alleged injury has occurred, when

 memories have faded, witnesses have died and evidence has been lost.” Lopez v.

 Swyer, 62 N.J. 267, 274 (1973). The reviver amendment, if it revives claims from

 any time period, is manifestly unfair to Defendant, who is forced to defend himself

 against an allegation from 30 years ago, where any evidence he may have once had

 is most certainly gone, witnesses have died or disappeared, and memories faded.

         While the recent decisions in New Jersey and before this Court have rejected

 the argument that New Jersey’s constitution protects against retroactive

 divestment of a statute of limitations defense, they have done so only in the cases of

 child victims, while explicitly relying on policies that apply to children who suffered

 abuse. The New Jersey legislature, like many state legislatures, have enacted

 retroactive amendments because victims of child abuse are not able to appreciate

 the extent or cause of harm they experience for many years after the abuse has

 ended. Sliney v. Previte, 473 Mass. 284, 295 (2015). These reviver amendments are


 Diocese, 862 S.W.2d 338, 341-42 (Mo. 1993) (recognizing constitutional prohibition of legislative
 revival of a time-barred claim “appears to be the majority view among jurisdictions with
 constitutional provisions”); State of Minnesota ex rel. Hove v. Doese, 501 N.W.2d 366, 369-71 (S.D.
 1993) (“Most state courts addressing the issue of the retroactivity of statutes have held that
 legislation which attempts to revive claims which have been previously time-barred impermissibly
 interferes with vested rights of the defendant, and this violates due process.”); Roark v. Crabtree, 893
 P.2d 1058, 1062-63 (Utah 1995) (“In refusing to allow the revival of time-barred claims through
 retroactive application of extended statutes of limitations, this court has chosen to follow the
 majority rule.”).

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 designed to address this specific and unique public policy concern and cure the

 procedural defect in the legal system specific as to child victims. See, e.g., W.F. v.

 Roman Catholic Diocese of Paterson, 2021 U.S. Dist. LEXIS 111062; Coyle v.

 Salesian of Don Bosco, 2021 N.J. Super. Unpub. LEXIS 1635 (July 21, 2021).

       These concerns are not present where the alleged victim is an adult as

 Plaintiff was at the time of the alleged incident. Because the New Jersey legislature

 did not make any findings about why the reviver amendment is curative with

 respect to adult victims, and because principles of equity weigh against a blanket

 rule that opens the floodgates to all claims, the United States and New Jersey

 constitutions prohibit retroactive divestment of a statute of limitations defense

 where the complainant is an adult. While tolling should be equitably applied to a

 plaintiff who was not aware of his/her injury until after the statute of limitations

 had run, there is no rationale for applying tolling to an adult victim who was aware

 of her injury at the time or shortly after the incident. In reviving cases of child

 sexual abuse, the New Jersey legislature cited specifically to the unique effects of

 abuse on child victims. No equivalent discussion or findings were made to justify

 reviving tort claims by an adult plaintiff from 30 years ago, and principles of equity

 and fairness require the court to take seriously the rights of defendants who must

 suddenly defend against stale accusations when they previously had an absolute

 defense to claims from that time period.

       In holding that their State constitutions protect against retroactive

 divestment of a statute of limitations defense, courts have, rightly, distinguished



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 themselves from federal constitutional precedent which has held that statutes of

 limitations are “arbitrary enactments” not “vested rights”. See Campbell v. Holt,

 115 U.S 629 (1885). That said, Defendant urges this Court to strongly consider

 Justice Bradley’s dissent in Campbell when determining whether the federal Due

 Process clause protects Defendant from having to defend against Plaintiff’s ancient

 claims that were time-barred decades ago but for this reviver amendment. Citing

 Chief Justice Marshall, Justice Bradley observed that “[t]he statute of limitations

 was not enacted to protect persons from claims fictitious in their origin, but from

 ancient claims, whether well or ill founded, which may have been discharged, but

 the evidence may be lost.” Campbell, 115 U.S. at 632. See also Nathan S. Chapman

 & Michael W. McConnell, Due Process as Separation of Powers, 121 Yale L.J. 1672.,

 1781-82 (2012) (arguing that at the time of framing of the U.S. Constitution,

 statutes retroactively depriving people of rights and property were seen as

 unconstitutional interference with judicial functions). Because the reviver

 amendment purports to revive all claims, no matter how ancient, even after the

 statute of limitations has run, it deprives Defendant of a vested right under the Due

 Process clauses of the U.S. and New Jersey Constitutions and should be overturned.




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 IV.    The Reviver Amendment Violates The Ex Post Facto Clause Where It

        Retroactively Extends The Statute Of Limitations And Ties Liability

        To Criminal Conduct.

        The Ex Post Facto clauses prohibit both Congress and the states from passing

 laws that apply retroactively. U.S. Const. art. 1, § 9, cl. 3; U.S. Const. art 1, § 10, cl.

 1. The New Jersey Constitution also prohibits ex post facto laws and is construed in

 lockstep with its federal counterpart. See N.J. Const. Art. IV § 7 ¶3; State v. Hester,

 233 N.J 381 at 392 (N.J. 2018). The United States Constitution makes no

 distinction between laws on the basis of whether they are civil or criminal in form,

 and strong arguments exist supporting the view that the Framers intended to

 prohibit all retroactive laws. While the general rule under current United States

 jurisprudence is that only laws that impose criminal punishment violate the Ex

 Post Facto clause. Calder v. Bull, 3 U.S. 386, 390-1 (1798), even laws that are not

 explicitly criminal are violative of ex post facto if they intend to punish or if their

 effects are suitably punitive. Kennedy v. Mendoza-Martinez, 372 U.S. 144, 168-69

 (1963). The reviver statute violates the United States and New Jersey Ex Post

 Facto clauses because: (1) a historical interpretation of the Ex Post Facto clause

 shows it applies to civil laws like the reviver amendment, and (2) it is punitive in

 both intent and effect.


               A.     The Ex Post Facto Rule Was Intended To Apply To Both
                      Civil And Criminal Laws.
        The Supreme Court first interpreted the ex post facto rule in Calder v. Bull,

 supra, holding that it applies only to criminal laws. As discussed below, the time

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 has come for the Supreme Court to revisit Calder, which was wrongly decided.

 Because of the unique nature of New Jersey’s reviver amendment, which ties

 liability to a finding of criminal conduct by a civil court and reopens long-expired

 statutes of limitations, the reviver amendment is just the kind of civil law that the

 historical arguments applying ex post facto to the civil context have in mind.

       Whether the ex post facto rule, as expressed in Article One §§ 9 & 10 applies

 to civil laws has been debated since before the Constitution was ratified. Evan C.

 Zoldan, The Civil Ex Post Facto Clause, 2015 Wis. L. Rev. 727, 733-750 (2015). Both

 sides of the argument make originalist arguments. In doing so, both sides rely on

 the same types of evidence: (1) British primary sources; (2) the Constitutional

 Convention; (3) state ratifying conventions; (4) public debate; and (5) post-

 ratification evidence. Id. at 736-749. For example, the side in favor of the narrow

 interpretation in Calder will quote John Dickinson, who informed the Convention

 that, according to Blackstone, “ex post facto related to criminal cases only; that they

 would not consequently restrain the States from retrospective laws in civil cases….”

 Id. at 738 (quoting Records of the Federal Convention of 1787, volume 2, page 418-

 419). Whereas the side supporting the broader interpretation might quote James

 Madison’s response to concerns that the states could retroactively interfere with

 contracts: “prohibition of ex post facto laws… will oblige the Judges to declare such

 interferences null & void.” Id. at 475 (quoting Records of the Federal Convention of

 1787, volume 2, page 440). The same back and forth exists for all the categories of

 historical evidence listed above. Id. at 731.



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       One scholar who recently and comprehensively examined this historical

 evidence has published findings which should put an end to the debate: at the time

 the Constitution was framed, the term ex post facto was used by legal professionals

 to refer to all retroactive laws—including civil ones. Id. at 732. In his analysis,

 Zoldan examines several cases where the ex post facto rule was applied in civil cases

 in the era surrounding the Constitution’s drafting. These cases involved disputes

 relating to debt, slave liberation, and property. Id. at 757-767. In all these cases, the

 courts applied the ex post facto rule to settle these civil disputes. The use of ex post

 facto in these cases undermines the Court’s holding in Calder and points to the

 conclusion that the Calder is based on a faulty historical premise and should be

 overturned.

       If Calder is wrong and the ex post facto rule applies to civil laws as well, then

 it necessarily applies to laws that retroactively change the statute of limitations.

 See Stogner v. California, 539 US 607 (2003). The U.S. Supreme Court has held that

 statutes retroactively reviving the statute of limitations in sex abuse cases in the

 criminal context violate ex post facto under at least two principles of Calder. First,

 such a statute “aggravates a crime, or makes it greater than it was when

 committed” because after the statute of limitations had expired, a party was not

 “liable to any punishment,” therefore the retroactive law aggravated the crime.

 Stogner, 539 U.S. at 603. Second, the laws retroactively changing the statute of

 limitations violate the Calder principle that a law violates ex post facto if it

 diminishes “the quantum of evidence required to convict.” Id. at 613 citing Calder,



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 3 U.S at 390-1. A law that changes the statute of limitations changes the quantum

 of evidence required because a statute of limitations “reflects a legislative judgment

 that, after a certain time, no quantum of evidence” will be sufficient to convict.

 Stogner, supra citing United States v. Marion, 404 U.S. 307 at 322 (1971).

       Further, the historical justifications for the ex post facto rule apply with equal

 force in the civil and criminal contexts. Two primary justifications exist for the ex

 post facto rule. First, the rule exists to promote stability and ensure citizens have

 fair notice of the laws. Jane Harris Aiken, Ex Post Facto in the Civil Context:

 Unbridled Punishment, 81 Ky. L.J. 323, 329-30 (1993). Prior to the Constitution’s

 framing, the colonists suffered from ex post facto laws enacted by the British and—

 after the Revolution—the colonists themselves. Id. at 327-28. These ex post facto

 laws took civil and criminal forms. Awareness of the instability and unfairness of

 these laws prompted the framers to include the Ex Post Facto Clauses in the

 Constitution. Second, the ex post facto rule exists to prevent vindictive legislation.

 Id. at 330. Aware that retroactive laws could be used to target specific individuals

 and groups, the framers included the Ex Post Facto Clauses to prevent these

 potential abuses of power. Id.

       These two justifications—notice and preventing legislative vindictiveness—

 apply to the civil context with the same force they apply to the criminal context, as

 demonstrated by the allegations at bar. Retroactively changing laws, as the New

 Jersey legislature did with the reviver amendment, necessarily deprives people of

 fair notice and of the ability to preserve and obtain evidence. This is of particular



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 concern where the reviver amendment applies to adults who claim to have been

 victimized (as opposed to people who were minors), where a defendant may seek to

 prove the encounter was consensual through common sources of evidence like

 witness testimony or personal correspondence. The same problem applies to

 disproving the allegations through alibi evidence or disputing when or where

 something could or could not have occurred. Forcing a person to defend against an

 allegation of something that allegedly happened 30 years earlier (or more), for

 which the statute of limitations had been long settled, creates a clear and unjust

 disadvantage that goes right to the heart of the fair notice justification for the Ex

 Post Facto clause. After a statute of limitations is passed most evidence will be lost

 or forgotten by a person not suspecting they will have to defend themselves. The

 more time passes, the more that person is disadvantaged and the more egregious

 the violation of the ex post facto clause becomes. While civil defendants may not face

 incarceration, they may nonetheless be forced to pay substantial damages and have

 their names sullied in an action they cannot properly defend against.

 The protection against legislative vindictiveness is just as vital, since many laws

 that have been named civil have real and devastating consequences in practice. The

 protection against vindictiveness applies no less to Defendant, who as a public

 figure, has been a target of much attention in popular culture because of these

 allegations. Attention to Defendant and other public figures, and the cultural

 climate influenced by the #MeToo movement very much have the power to influence

 legislation, and it is within reason to suggest that in some cases legislators may



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 have had specific people in mind, including Defendant, when drafting and voting for

 these laws. The Ex Post Facto clause was intended to prohibit legislators from

 passing laws that unfairly change the rules retroactively in just these types of

 cases.

          Given the strong historical arguments and legal justifications in favor of

 applying the Ex Post Facto clause to civil cases that operate retroactively, this

 Court should find that the reviver amendment violates the ex post facto rule on the

 basis of its retroactivity alone and dismiss Plaintiff’s complaint. But the punitive

 nature of New Jersey’s reviver amendment allows this Court to find it violates ex

 post facto principles even without contradicting Calder.

                B.     The Reviver Amendment Violates The Ex Post Facto
                       Clause Because It Is Punitive In Nature.
          A law violates the ex post facto rule if it either imposes punishment for an act

 that was lawful when committed or retroactively imposes a greater punishment on

 unlawful conduct. Harisiades v. Shaughnessy, 342 U.S. 580, 594 (1952). In addition,

 a law can violate the Ex Post Facto clause if it alters the legal rules of evidence, and

 receives less, or different testimony, than the law required at the time of the

 commission of the offense, in order to convict the offender. Calder, 3 U.S. at 390.

          If the legislature did not intend the law to punish, it may still violate the ex

 post facto rule if its effects are suitably punitive. See, Smith v. Doe, 538 U.S. 84, 97

 (2003); Mendoza-Martinez at 168-9. The Mendoza-Martinez Court identified seven

 factors as useful—not dispositive—guideposts to determine whether a law’s effects

 are punitive enough to subject it to the ex post facto rule. Smith, 538 U.S. at 97.


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 Those factors are: (1) whether the behavior the law applies to is already a crime; (2)

 whether the sanction requires a finding of intent; (3) whether its operation will

 promote retribution and deterrence; (4) whether there is an alternative purpose to

 the law; (5) whether, if there is an alternative purpose, it is excessive in regard to

 that purpose; (6) whether the sanction involves an affirmative disability or

 restraint; and (7) whether it has historically been regarded as punishment. Id.

       The reviver amendment violates the Ex Post Facto clauses of the United

 States and New Jersey constitutions under two related but alternative theories.

 First, if courts interpret the amendments to only apply to people who were convicted

 of crimes, it serves to inflict greater punishment and change the punishment for

 crimes from what they were when committed. The fact that the amendment may

 authorize civil action is not dispositive where the Mendoza-Martinez factors,

 discussed below, weigh in favor of punitive intent and effects. Alternatively, the

 reviver amendment violates ex post facto if the court finds that a criminal conviction

 is not a prerequisite to liability, especially where it requires the Court to find that

 the injuries resulted from the commission of a crime for liability to attach. Such a

 ruling would violate the Calder principle that a law violates ex post facto if it “alters

 the legal rules of evidence, and receives less, or different testimony that the law

 required at the time of the commission of the offense, in order to convict the

 offender.” Calder at 390-1. Under the plain language of the reviver amendment, in

 order to find that Plaintiff’s injuries resulted from the commission of a crime, it

 must hold that Defendant committed a crime. To authorize a civil court to make



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 such a finding changes the law from what it at the time the crime was committed,

 and certainly what it was after the statute of limitations had expired. It operates to

 the extreme detriment of a defendant and changes the standard and burden of

 proof, as well as countless removing other protections of the criminal process. Under

 Calder, either of these interpretations lead to the conclusion that the reviver

 amendment is an unconstitutional ex post facto law.

       Applying the Mendoza-Martinez factors to the reviver amendment also leads

 to the conclusion that the reviver amendment violates ex post facto principles. To

 start, the reviver amendment applies only to criminal conduct, all of which requires

 scienter, and the purpose of the law is to promote retribution and deterrence. That

 it applies only to criminal conduct is apparent from language, which authorizes a

 cause of action for injuries “resulting from the commission of sexual assault, [or]

 any other crime of a sexual nature.” § 2A:14-2b. Moreover, the crimes of sexual

 assault requires intent, which in turn requires scienter. See § 2C:14-2. By tying the

 liability to criminal conduct, the legislature made clear that it intended to promote

 the aims of retribution and punishment.

       More importantly, the CSAA authorizes punitive damages. § 2A:61B-1(h).

 The Supreme Court has recognized that “the very labels given ‘punitive’ or

 ‘exemplary’ damages, as well as the rationales that support them, demonstrate that

 they share key characteristics of criminal sanctions,” and that “retroactive

 imposition of punitive damages would raise a serious constitutional question” under

 the Ex Post Facto clause. Landgraf v. Usi Film Prods., 511 U.S. 244 at 281 (1994).



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 Punitive damages are intended to punish and deter. See Id. quoting Usery v. Turner

 Elkhorn Mining Co., 428 U.S. 1, 96 S. Ct. 2882 (1976) (holding that court would

 "hesitate to app rove the retrospective imposition of liability on any theory of

 deterrence . . . or blameworthiness"); DeVeau v. Braisted, 363 U.S. 144, 160 (1960)

 ("The mark of an ex post facto law is the imposition of what can fairly be designated

 punishment for past acts"). See also, Louis Vuitton S.A. v. Spencer Handbags Corp.,

 765 F. 2d 966, 972 (2d Cir. 1985) (retroactive application of punitive treble damages

 provisions "would present a potential ex post facto problem"). Given that the reviver

 amendment authorizes punitive damages and is tied to criminal conduct, the Court

 should infer that the legislature’s purpose is punitive and that the reviver

 amendment is an unconstitutional ex post facto law.

          Admittedly, the reviver amendment does not impose an affirmative

 disability or restraint on Defendant, insofar as it does not physically restrain him or

 cause him occupational or housing disadvantages. Nonetheless, every other relevant

 Mendoza-Martinez factor weighs toward finding the amendment to be punitive.

 Consequently, this Court should find that it is an unconstitutional ex post facto rule.




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                                   CONCLUSION


       Defendant William Cosby respectfully requests that this Court enter an order

 dismissing Plaintiff’s Complaint pursuant to Fed. R. Civ. P. 12(b)(6).


                                               Respectfully Submitted,


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